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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CRIMINAL NO. 17-CR-089 (EGS)
               v.                            :
                                             :
CLARK CALLOWAY, JR.,                         :
                                             :
                      Defendant.             :

  GOVERNMENT’S SUPPLEMENTAL MEMORANDUM IN AID OF SENTENCING

       Pursuant to this Court’s Order of March 21, 2019, the United States submits the following

Supplemental Memorandum in Aid of Sentencing. This memorandum seeks solely to identify and

discuss relevant case law and briefing on the application of U.S. Sentencing Guidelines (U.S.S.G.)

enhancement § 2K2.1(b)(6)(B), and upward departure principles.

                        U.S.S.G. §2K2.1(b)(6)(B) is Directly Applicable

       As has been argued in prior briefs and orally to the Court, there is no comment, policy, or

application note that indicates that U.S.S.G. §2K2.1(b)(6)(B) is inapplicable where a defendant

has been convicted of a violation of 18 U.S.C. §924(b). Additionally, the government previously

identified a number of cases where courts have applied this enhancement where the firearm was

possessed with intent to commit a future felony offense that was never attempted or at least never

completed. The government has further identified the following cases where courts have applied

the same enhancement in similar circumstances:

       United States v. Henry, 2012 WL 5881848 at *2-*4 (E.D. Pa. Nov. 21, 2012), aff’d 425

Fed. Appx. 116 (3rd Cir. 2011): court applied the enhancement (previously located at U.S.S.G.

§2K2.1(b)(5)) where defendant obtained an AR-15 weapon with intent to kill a prosecutor, but



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did not commit further acts to follow through on threats to the prosecutor. The court found, “the

Third Circuit has explicitly stated that an enhancement under . . . §2K2.1(b)(5) is proper when, as

is the case here, the Court finds that a firearm was possessed or transferred ‘in connection with’ a

future crime.” Id. (citing United States v. Dupree, 388 Fed. App’x 164, 167-69 (3rd Cir. 2010)).

       United States v. Molle, 2006 WL 1889979 at *2 (E.D. Va. July 7, 2006): court recognized

applicability of the enhancement located formerly at U.S.S.G. §2K2.1(b)(5) where a defendant

who possessed a firearm with intent to transfer the weapon to the Irish Republican Army (IRA) -

- who would have used then used firearm in another felony offense -- but where the defendant was

arrested almost immediately after receiving the weapon from undercover officers. In that case, the

government did not specify the specific future felony.

       United States v. Salah, 1998 WL 767463 at *1-2 (E.D. Pa. Nov. 3, 1998): court recognized

that the enhancement located formerly at U.S.S.G. §2K2.1(b)(5) applied to case where the

defendant possessed a Molotov cocktail (which is included in the term firearm under 26 U.S.C.

§5845(a)(8)), with the intent to commit arson against a drug dealer, but where the future crime did

not occur. The Court denied an ineffective assistance of counsel claim, finding that the

“enhancement was so clearly applicable, the absence of an objection resulted in no prejudice to

the defendant since the enhancement would have been applied even without an objection.”

         Courts Regularly Depart Upward Where Defendant’s Intend to Commit Spectacular,
                               Destabilizing Violent Attacks

       The government also recognizes that courts have consistently departed upward in firearm

cases when a defendant intended to commit significant, and destabilizing violent acts, but was

thwarted or captured before such crimes could occur. The Henry case above (United States v.



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Henry, 425 Fed. Appx. 116, 121 (3rd Cir. 2011)) is instructive. There, in a case involving a firearms

conviction, the Court of Appeals approved of a district court’s two level upward departure under

the catchall U.S.S.G. § 5K2.0 where the defendant possessed an AR-15 with the intent to use it to

kill a federal prosecutor. The defendant did not attempt to shoot the prosecutor, nor was the

prosecutor the victim of the defendant’s offense of conviction. The Court of Appeals nonetheless

affirmed the District Court’s use of the departure, even where the District Court had imposed an

additional enhancement under U.S.S.G. §2K2.1(b)(5).

       A review of the dockets of the cases identified by the defendant (sent by defense counsel

via email to Chambers on March 13, 2019) actually prove the appropriateness of the upward

departure in these types of cases:

       (1) In United States v. Abu-Rayyan, 2017 WL 1279226 (E.D. Mich. 2017), the Court

           sentenced the defendant with an upward departure of 60 months incarceration where

           the original guideline range was 15-21 months. The resulting sentence shows a ten

           level upward departure from the original guideline range.

       (2) In United States v. Daniel Seth Franey, 16-CR-05073 (W.D. Wash.) the Court

           sentenced the defendant with an upward departure of 72 months incarceration where

           the original guideline range was 33-41 months. The resulting sentence shows a six

           level upward departure from the original guideline range.

       (3) In United States v. Miguel Moran Diaz, Case No. 15-20264 (S.D. Fla), the Court

           sentenced the defendant with an upward departure of 120 months incarceration where

           the original guideline range was 33-41 months. The resulting sentence shows a ten

           level upward departure from the original guideline range.


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       (4) In United States v. Shah, 2012 WL 1098387 (S.D. Tex.), the Court sentenced the

           defendant with an upward departure of 78 months incarceration where the original

           guideline range was 15-21 months. The resulting sentence shows a twelve level

           upward departure from the original guideline range.

       (5) In United States v. Fawzi Mustapha Assi, Case No: 98-80695 (E.D. Mich.), the Court

           sentenced the defendant with an upward departure of 120 months incarceration where

           the original guideline range was 33-41 months (before application of an upward

           departure under U.S.S.G. §3A.1.4). The sentence shows a six level upward departure

           from the pre-terrorism enhacement guideline range.

       (6) In United States v. Joshua Ryne Goldberg, Case No: 17-249 (M.D. FL) the Court

           sentenced the defendant to 120 months incarceration where the original guideline

           range was 33-41 months (before application of an upward departure under U.S.S.G.

           §3A.1.4). The resulting sentence shows a six level upward departure from the pre-

           terrorism ehnacement guideline range.


       In sum, the government believes that an upward departure from the U.S.S.G. is warranted

in this case. The government believes the ultimate and appropriate sentencing guideline range is

this case is level 28, with Criminal History Category III, which has a guideline range of 97 to 121

months.

                                           Conclusion

       The government believes U.S.S.G. §2K2.1(b)(6)(B) is applicable, that upward departure

is appropriate, and the Court should sentence the defendant to 120 months incarceration.



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                                  Respectfully submitted,

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